     Case 2:21-cv-01189-RFB-BNW Document 18 Filed 09/10/21 Page 1 of 3



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14
     and Endeavor Group Holdings, Inc.
15

16                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
17

18
     KAJAN JOHNSON and CLARENCE                       Case No.: 2:21-cv-01189-RFB-BNW
19   DOLLAWAY, on behalf of themselves and all
     others similarly situated,                       ENDEAVOR GROUP HOLDINGS,
20                                                    INC.’S CERTIFICATE OF
                             Plaintiffs,              INTERESTED PARTIES
21
             v.
22

23   ZUFFA, LLC, (d/b/a Ultimate Fighting
     Championship and UFC) and Endeavor Group
24
     Holdings, Inc.,
25
                              Defendants.
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              ENDEAVOR GROUP HOLDINGS, INC.’S CERTIFICATE OF INTERESTED PARTIES
                              CASE NO.: 2:21-cv-01189-RFB-BNW
     Case 2:21-cv-01189-RFB-BNW Document 18 Filed 09/10/21 Page 2 of 3




1           Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for Endeavor Group

2    Holdings, Inc. (“Endeavor”), certifies that Endeavor is a publicly traded company listed on the

3    New York Stock Exchange and thus has many shareholders. Endeavor certifies that the

4    following investors own over 10% of Endeavor outstanding stock and may have a direct,

5    pecuniary interest in the outcome of this case:

6               •   Silver Lake West HoldCo, L.P. holds approximately 18.4% of Endeavor Group

7                   Holdings, Inc.’s outstanding shares of Class A Common Stock on a fully

8                   exchanged basis.

9               •   Silver Lake West HoldCo II, L.P. holds approximately 20.4% of Endeavor Group

10                  Holdings, Inc.’s outstanding shares of Class A Common Stock on a fully

11                  exchanged basis.

12          These representations are made to enable judges of the Court to evaluate possible

13   disqualifications or recusal.

14
     Dated: September 10, 2021                     Respectfully submitted,
15

16                                                 By        /s/ Stacey K. Grigsby

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25                                                 Attorneys for Defendants Zuffa, LLC and Endeavor
                                                   Group Holdings, Inc.
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               ENDEAVOR GROUP HOLDINGS, INC.’S CERTIFICATE OF INTERESTED PARTIES
                               CASE NO.: 2:21-cv-01189-RFB-BNW
     Case 2:21-cv-01189-RFB-BNW Document 18 Filed 09/10/21 Page 3 of 3



                                     CERTIFICATE OF SERVICE
1

2           The undersigned hereby certifies that service of the foregoing, Zuffa, LLC’s Certificate
3    of Interested Parties, was served on the 10th day of the September, 2021 via the Court’s
4    CM/ECF electronic filing system addressed to all parties on the e-service list.
5                                                         By      /s/ William A. Isaacson
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               ENDEAVOR GROUP HOLDINGS, INC.’S CERTIFICATE OF INTERESTED PARTIES
                               CASE NO.: 2:21-cv-01189-RFB-BNW
